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lN THE UNITED STATES DISTRICT COURT Fll.ED BY L. ..°)_M_ D.C.
FOR THE WESTERN DISTRICT OF TENNESSEE

WESTERN DIVISION 05 JUt~t -I PM h= 09

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UNITED STATES OF AMERlCA’ tiiit;i;.riiif “ti\i`, M§nit=mé

Plaintiff,
0 5
VS. NO. 02-20075-02-Ma/V
RONALD HUGHES,
Defendant.

 

ORDER ALLOWING COUNSEL TO WITHDRAW

Before the court is the May 3l , 2005 motion ofDaniel Johnson, counsel for Ronald Hughes,
requesting that he be allowed to Withdraw as counsel for the defendant

Good cause having been shown, the motion is granted and Mr. Hughes is allowed to
Withdraw. The defendant has previously been determined to be indigent The magistrate judge is

therefore directed to appoint replacement counsel for defendant from the court’s CJA Pro Bono

Panel

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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Honorable Samuel Mays
US DISTRICT COURT

